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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY




  IN RE THALOMID AND REVLIMID                                    Civil No. 14-6997 (MCA) (MAH)
  ANTITRUST LITIGATION




               CLASS PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                      AND APPOINTMENT OF CLASS COUNSEL

        PLEASE TAKE NOTICE that the undersigned, Interim Co-Lead Counsel for Plaintiffs and

 the Proposed Classes, will move before the Hon. Madeline Cox Arleo, U.S.D.J., at the Martin Luther

 King, Jr. Federal Building and Courthouse, 50 Walnut Street, Newark, New Jersey, on a date and

 time to be set by the Court, for an Order:

        1. Certifying the following classes:

            a. The Antitrust/Consumer Protection Damages Class (under Fed. R. Civ. P.
               23(b)(3)): All persons or entities who purchased and/or paid for some or all of
               the purchase price for thalidomide in any form after November 6, 2010 or
               lenalidomide in any form after January 29, 2011, in California, the District of
               Columbia, Florida, Kansas, Maine, Massachusetts, Michigan, Nebraska, New
               York, North Carolina, Oregon, Pennsylvania, Rhode Island, or Tennessee, for
               consumption by themselves, their families, or their members, employees,
               insureds, participants, or beneficiaries (the “Antitrust/Consumer Protection
               Damages Class”);

            b. The Unjust Enrichment Damages Class (under Fed. R. Civ. P. 23(b)(3)): All
               persons or entities who purchased and/or paid for some or all of the purchase
               price for thalidomide in any form after November 6, 2010 or lenalidomide in
               any form after January 29, 2011, in California, the District of Columbia,
               Florida, Kansas, Maine, Massachusetts, Michigan, Nebraska, New York, North
               Carolina, Oregon, Pennsylvania, Rhode Island, or Tennessee, for consumption
               by themselves, their families, or their members, employees, insureds,
               participants, or beneficiaries (the “Unjust Enrichment Damages Class”); and
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          c. The Injunction Class (under Rule 23(b)(2)): All persons or entities who
             purchased and/or paid for some or all of the purchase price for thalidomide in
             any form after November 6, 2010 or lenalidomide in any form after January
             29, 2011, in the United States or its territories for consumption by themselves,
             their families, or their members, employees, insureds, participants, or
             beneficiaries (the “Injunction Class”),

       Excluding the following persons or entities:

          a. Defendant and their officers, directors, management, employees, subsidiaries,
             or affiliates;

          b. Government entities, except for government-funded employee benefit plans;

          c. All persons or entities who purchased Revlimid or Thalomid for purposes of
             resale or directly from Defendant or their affiliates;

          d. Fully insured health plans (i.e., Plans that purchased insurance from another
             third-party payor covering 100% of the Plan’s reimbursement obligations to
             its members);

          e. “Single flat co-pay” consumers who purchased Revlimid or Thalomid only
             via a fixed dollar co-payment that does not vary on the basis of the
             purchased drug’s status as branded or generic (e.g., $20 for both branded and
             generic drugs);

          f. The judges in this case and any members of their immediate families.

       2. Appointing International Union of Bricklayers and Allied Craft Workers Local 1 Health

          Fund, International Union of Operating Engineers Stationary Engineers Local 39 Health

          and Welfare Trust Fund, The Detectives’ Endowment Association, Inc., David Mitchell,

          City of Providence, and New England Carpenters Health Benefits Fund as Class

          Representatives;

       3. Pursuant to Fed. R. Civ. P. 23(g), appointing current Interim Co-Lead Counsel, Hausfeld

          LLP, Hach Rose Schirripa & Cheverie LLP, and Block & Leviton LLP as Co-Lead

          Counsel for the Classes; and

       4. Granting Plaintiffs and the Classes such other and further relief as this Court may deem

          just and proper.


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        In support of this motion, Plaintiffs shall rely on upon the accompanying Memorandum of

 Law, the Declaration of Melinda R. Coolidge and the exhibits annexed thereto, the Expert Report of

 Luis A. Molina, and the Expert Report of Jeffrey J. Leitzinger, Ph.D.

        Plaintiffs request oral argument on this Motion.


 Dated: October 2, 2017                        Respectfully submitted,

                                               By: /s/ Melinda R. Coolidge

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                                   CERTIFICATE OF SERVICE

         I, Katie R. Beran, counsel for Plaintiffs, do hereby certify that this Motion for Class

 Certification was filed and served on all counsel by electronically filing this Motion with the Clerk for

 the United States District Court for the District of New Jersey by using the Court’s CM/ECF system,

 which will automatically send email notification of such filing to all attorneys of record.

 Date: October 2, 2017

                                                         /s/ Katie R. Beran    _
                                                         Katie R. Beran




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